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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF l\/HCHIGAN
SOUTHERN DIVISION

 

TIMOTHY J. RYAN and
CHRISTINE A. RYAN,

Plaintiffs,

Case No. l:O3-cv-439

v.
HON. DAVID W. MCKEAGUE

ADELE MCG]NN-LOOMIS and
MARY BENEDICT,

Defendants.
/

ORDER FOR SUPPLEMENTAL BRIEFING

Defendants Adele McGinn-Loomis and Mary Benedict having moved the Court to dismiss
plaintiffs complaint under Fed. R. Civ. P. lZ(b)(l) and lZ(b)(G); and

The Court having conducted a hearing on the motions on November 24, 2003 and having
determined it appropriate to consider matters outside the pleadings; and

The Court finding that limited discovery and supplemental briefing is appropriate before the
Court rules on the motions;

Now therefore, and for the reasons more fully set forth on the record during the hearing

IT IS HEREBY ORDERED:

l. That defendants’ motions to dismiss, Which shall be treated pursuant to Fed. R. Civ. P.
lZ(c), as motions for summary judgment under Fed. R. Civ. P. 56, are TAKEN UNDER
ADVISEMENT;

2. That plaintiffs are GRANTED LEAVE to amend their complaint, so as to state their

claims under 42 U.S.C. § 1983 more particularly, not later than December 8, 2003;

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3. That the parties shall undertake discovery limited to the question whether and how
defendant McGinn-Loomis, in conspiracy With defendant Benedict, acted under color of state law,
and shall complete Such limited discovery by February 1, 2004;

4. That the parties shall file supplemental briefs in support of and opposition to the pending
motions to dismiss not later than March 1, 2004, and briefs in response to the Supplemental briefs
not later than March 10, 2004; and

5. That a second hearing on the supplemented motions to dismiss shall be conducted by the

undersigned in Lansing on April 5, 2004 at 10:00 a.m.

Dated: November 25, 2003 /s/ David W. McKeaQue
DAVID W. McKEAGUE
UNTIED STATES DISTRICT COURT

 

TRUE CCPV
SIGNED ORlG|NAL FlLED
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Rona|d C. Weston, Sr., Clerk

 

 

 

 

